     Case: 1:23-cv-15885 Document #: 60 Filed: 07/18/25 Page 1 of 1 PageID #:267

                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Robert Sylvester Kelly
                                       Plaintiff,
v.                                                       Case No.: 1:23−cv−15885
                                                         Honorable Elaine E. Bucklo
United States of America, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 18, 2025:


       MINUTE entry before the Honorable Elaine E. Bucklo: Plaintiff's motion to vacate
dismissal of this case [57] is granted. All discovery shall be completed by 12/31/25. Status
hearing set for 1/23/26 in person at 10:00 a.m. Mailed notice. (mgh, )




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